                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                        Plaintiff,           )
                                             )
v.                                           )      Case No. 13-00236-02-CR-W-DGK
                                             )
ASHLI ADKINS,                                )
                                             )
                        Defendant.           )


                                            ORDER

          This matter is currently before the Court on Defendant Ashli Adkins’ Motion for

Severance (doc #102) in which defendant Adkins seeks a severance from her co-defendants, Derek

Williams, Jason Sparks and Daniel Williams. For the reasons set forth below, this motion is

denied.

                                      I. INTRODUCTION

          On June 20, 2013, defendant Ashli Adkins, along with Derek A. Williams, Jason E.

Sparks, Charidy Blankenship 1 and Daniel R. Williams, was charged in a forty-three count

Indictment.

          On February 4, 2016, the Grand Jury returned a forty-six count Superseding Indictment

against defendants Derek A. Williams, Ashli Adkins, Jason E. Sparks and Daniel R. Williams. 2

In Count One, all defendants are charged with conspiracy to commit mail fraud.   In Counts Two



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 Defendant Blankenship entered a guilty plea on July 2, 2015.
2
 Defendant Adkins is charged in Counts One through Forty-Four. Defendant Derek Williams
is, likewise, charged in Counts One through Forty-Four. Defendant Sparks is charged in
Counts One through Forty-Two. Defendant Daniel Williams is charged in Counts One through
Thirteen and Forty-Three through Forty-Six.


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and Three, all defendants are charged with conspiracy to distribute controlled substance

analogues.    In Count Four, all defendants are charged with conspiracy to import controlled

substance analogues.     In Counts Five through Ten, all defendants are charged with distribution

of controlled substance analogues.    In Count Eleven, all defendants are charged with conspiracy

to introduce, receive, deliver and sell misbranded drugs in interstate and foreign commerce.       In

Counts Twelve and Thirteen, all defendants are charged with conspiracy to commit money

laundering.   In Counts Fourteen through Forty-Two, defendants Derek Williams, Ashli Adkins

and Jason Sparks are charged with conducting financial transactions in excess of $10,000 with

criminally derived proceeds.       In Counts Forty-Three and Forty-Four, defendants Derek

Williams, Ashli Adkins and Daniel Williams are charged with conducting financial transactions

in excess of $10,000 with criminally derived proceeds.        Count Forty-Five charges defendant

Daniel Williams with conducting a financial transaction with criminally derived proceeds

designed to avoid the transaction reporting requirements of state or federal laws.             Count

Forty-Six charges defendant Daniel Williams with conducting a financial transaction with

criminally derived proceeds designed to conceal or disguise the nature, location, source,

ownership or control of the proceeds.

                                         II. DISCUSSION

       A.      Joinder of Defendants

       Rule 8(b), Federal Rules of Criminal Procedure, establishes the requirements for joinder of

defendants. Defendants are permitted to be joined where “they are alleged to have participated in

the same act or transaction, or in the same series of acts or transactions, constituting an offense or

offenses.” “There is a preference in the federal system for joint trials of defendants who are

indicted together.”    United States v. Anderson, 783 F.3d 727, 743 (8th Cir. 2015)(quoting Zafiro

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v. United States, 506 U.S. 534, 537 (1993)).         This is increasingly so when it is charged that

defendants have engaged in a conspiracy. See United States v. Basile, 109 F.3d 1304, 1309 (8th

Cir.), cert. denied, 522 U.S. 866 (1997); United States v. Pou, 953 F.2d 363, 368 (8th Cir.), cert.

denied, 504 U.S. 926 (1992). “The preference for joint trials of defendants jointly indicted,

particularly where conspiracy is charged, is not limited by any requirement that the quantum of

evidence of each defendant’s culpability be equal.” United States v. Mallett, 751 F.3d 907, 917

(8th Cir. 2014)(quoting United States v. Lewis, 557 F.3d 601, 610 (8th Cir. 2009)).

       The question of whether joinder is proper is to be determined from the face of the

indictment, accepting as true the factual allegations in the indictment. See United States v.

Massa, 740 F.2d 629, 644 (8th Cir. 1984)(overruled on other grounds), cert. denied, 471 U.S. 1115

(1985). See also United States v. Willis, 940 F.2d 1136, 1138 (8th Cir. 1991), cert. denied, 507

U.S. 971 (1993)(“the indictment on its face revealed a proper basis for joinder”); United States v.

Jones, 880 F.2d 55, 62 (8th Cir. 1989)(“the superseding indictment reveals on its face a proper basis

for joinder”).

       Accepting as true the factual allegations in the Superseding Indictment, it is clear that the

charges in Counts One through Thirteen (that defendant Ashli Adkins, along with co-defendants

Derek Williams, Jason Sparks and Daniel Williams, conspired to commit mail fraud; conspired

to distribute controlled substance analogues; conspired to import controlled substance analogues;

distributed controlled substance analogues; conspired to introduce, receive, deliver and sell

misbranded drugs in interstate and foreign commerce; and conspired to commit money

laundering), the charges in Counts Fourteen through Forty-Two (that defendant Adkins, along

with co-defendants Derek Williams and Jason Sparks, conducted financial transactions in excess

of $10,000 with criminally derived proceeds), and the charges in Counts Forty-Three and

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Forty-Four (that defendant Adkins, along with co-defendant Derek Williams and Daniel

Williams, conducted financial transactions in excess of $10,000 with criminally derived

proceeds) satisfy the requirement that defendants are alleged to have participated in the same act or

in the same series of acts constituting an offense. There is no misjoinder of defendants in this

case.

        B.     Defendant Adkins is Not Prejudiced By Her Joinder With the Other Defendants

        “When defendants are properly joined, there is a strong presumption for their joint trial, as

it gives the jury the best perspective on all of the evidence and therefore increases the likelihood of

a correct outcome.” United States v. Casteel, 663 F.3d 1013, 1018 (8th Cir. 2011)(quoting United

States v. Lewis, 557 F.3d 601, 609 (8th Cir. 2009)). However, Rule 14, Federal Rules of Criminal

Procedure, permits severance where joinder would result in unfair prejudice to a defendant. The

decision to sever lies in the trial court’s discretion. See United States v. Davis, 882 F.2d 1334,

1340 (8th Cir. 1989), cert. denied, 494 U.S. 1027 (1990).

        Defendant Adkins argues that she would be prejudiced by a joint trial with Derek Williams,

Jason Sparks and Daniel Williams. Specifically, defendant states:

                  The discovery provided by the government to date demonstrates a stark
        disparity in the quantity and quality of information pertinent to Mrs. Adkins and her
        codefendants. Although Mrs. Adkins was listed as the owner of KC Incense, there
        is little to no information regarding Mrs. Adkins’ involvement in the facts that may
        support the evidence of a conspiracy. According to the evidence provided by the
        government, there is no evidence that Mrs. Adkins took any active role in the
        operation of the business itself. In this case, the business was operated under the
        exclusive control of Derek Williams and Jason Sparks. These defendants, along
        with Daniel Williams, primarily marketed the products around the country. In
        addition, the government’s evidence demonstrates that Derek Williams was
        responsible for dealing with the chemical suppliers and caused the purchase and
        delivery of the products to the United States. In addition, the finances of the
        company were handled by Charidy Blankenship and Derek Williams. In fact, the
        evidence provided by the government only demonstrates that the defendant was a
        signatory on the company bank accounts but fails to evidence any direct

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       involvement in the operation of the business. Her involvement is a striking
       distinction from the other co-defendants who were involved in the day-to-day
       operation of the business.

(Defendant Ashli Adkins’ Motion for Severance (doc #102) at 2-3)

       Defendant Adkins argues that the fact that there are forty-six separate criminal counts

“distorts the evidence marshaled against the defendants and the relative lack of evidence against

Mrs. Adkins.” ((Defendant Ashli Adkins’ Motion for Severance (doc #102) at 4-5) However,

the Court notes that defendant Adkins is charged in forty-four of those forty-six criminal counts.

Thus, evidence relevant to the charges in those forty-four counts would appear relevant to the

charges against defendant Adkins.    In addition, conduct in furtherance of a charged conspiracy

is admissible against all coconspirators as evidence of the conspiracy.     See United States v.

Ramsey, No. 11-3224, 510 F. App’x 731, 734-35 (10th Cir. Feb. 11, 2013), cert. denied, 134

S.Ct. 714 (2013).   Accord Rincon v. Burge, No. 05Civ.0686(LTS)(MHD), 2010 WL 6789121,

*18 (S.D.N.Y. Sep. 8, 2010)(“although some of the evidence concerned crimes in which not all of

the defendants were directly involved, that evidence was admissible against all of them as alleged

coconspirators, since the conduct in question involved overt acts in furtherance of the

conspiracy”). While defendant Adkins argues that “there is little to no information regarding

[her] involvement in the facts that may support the evidence of a conspiracy,” the issue of

whether the government will be able to prove that defendant Adkins was part of the alleged

conspiracies remains whether defendant Adkins is tried separately or with her co-defendants.

       To the extent that evidence would be admissible in a joint trial that would otherwise not

be admissible if defendant Adkins were tried alone, the law is clear that a defendant is not

entitled to severance simply because the evidence against a co-defendant is more weighty than

the evidence against her or because evidence admissible against a co-defendant may make her

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case more difficult to defend.   In United States v. Willis, 940 F.2d 1136 (8th Cir. 1991), cert.

denied, 507 U.S. 971 (1993), the court found:

        There can be little doubt that the joint trial made it more difficult for Willis [a
        minor participant charged in only two of thirty-two counts] to defend himself.
        The evidence clearly revealed that Duke was a major drug dealer with a
        “far-flung” operation. But difficulty alone is not a reason to reject joinder. A
        showing of clear prejudice must be made.

Id. at 1139. See also United States v. Pecina, 956 F.2d 186, 188 (8th Cir. 1992); United States

v. Davis, 882 F.2d 1334, 1340 (8th Cir. 1989), cert. denied, 494 U.S. 1027 (1990).

        Prejudice may occur if the jury is unable to compartmentalize the evidence against each

defendant.    See Willis, 940 F.2d at 1138.     However, this potential problem can normally be

resolved through applicable jury instructions. See Pecina, 956 F.2d at 188 (“Disparity in the

weight of the evidence as between ... parties does not entitle one to severance ... In addition, the

district court gave precautionary instructions advising the jury of the proper use of evidence as

related to each defendant and each charge”); United States v. McConnell, 903 F.2d 566, 571 (8th

Cir. 1990), cert. denied, 498 U.S. 1106 (1991)(“the roles of the individual [defendants] were

sufficiently distinct that the jury, aided by the court’s instructions, could compartmentalize the

evidence against each defendant”); United States v. Jones, 880 F.2d 55, 63 (8th Cir. 1989);

United States v. Jackson, 549 F.2d 517, 526 (8th Cir.), cert. denied, 430 U.S. 985 (1977).

        There is no reason to question that any possible prejudice to defendant Adkins resulting

from any evidence which is not evidence of the conspiracies and/or the other charges brought

against Adkins and which is presented against her co-defendants cannot be resolved through

precautionary jury instructions. There is no prejudice in this case that would require severance in

order to ensure a fair trial.



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                                        III. CONCLUSION

       Rules 8 and 14 are designed to promote judicial economy and efficiency and to avoid a

multiplicity of trials as long as these objectives can be achieved without substantial prejudice to the

right of the defendant to a fair trial. See Zafiro v. United States, 506 U.S. 534, 540 (1993).

Given the Court’s findings that defendant Adkins is properly joined with her co-defendants and

that defendant’s claims of prejudice must fail, it is

       ORDERED that Defendant Ashli Adkins’ Motion for Severance (doc #102) is denied.



                                                              /s/ Sarah W. Hays
                                                             SARAH W. HAYS
                                                   UNITED STATES MAGISTRATE JUDGE




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